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     Attorneys for Plaintiff,
 7   JOHNATHAN TAYLOR
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     JOHNATHAN TAYLOR,
11                                               Case No.: 2:16-cv-02753-JCM-PAL
                     Plaintiff,
12                                               NOTICE OF SETTLEMENT
13
           vs.                                   BETWEEN JOHNATHAN TAYLOR
                                                 AND ETOURANDTRAVEL, INC.
14   ETOURANDTRAVEL, INC.,                                                         N
                                                                                   O
15
                       Defendant(s).                                               T
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           NOTICE IS HERBY GIVEN that the dispute between JOHNATHAN
19
     TAYLOR (“Plaintiff”) and Defendant ETOURANDTRAVEL, INC.
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21
     (“ETOURANDTRAVEL”) has been resolved on an individual basis. The parties

22   anticipate filing a Stipulation for Dismissal of the Action as to the named
23
     Plaintiff’s claims against ETOURANDTRAVEL, with Prejudice, within 60 days.
24
     Plaintiff requests that all pending dates and filing requirements as to
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                                           Page 1 of 2
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     ETOURANDTRAVEL be vacated and that the Court set a deadline sixty (60) from
 1

 2   present for filing a Dismissal as to ETOURANDTRAVEL.
 3
          Dated: February 6, 2017
 4
                                               /s/ David H. Krieger, Esq.
 5                                             David H. Krieger, Esq.
 6
                                               Attorneys for Plaintiff
 7                                             JOHNATHAN TAYLOR
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